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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------x
In re                                                                  Case No. 09-50349(cec)

           Becalel Edelstein, a/k/a Charles Edelstein,                 AFFIRMATION OF DEBTORS’
         Susan Edelstein                                               INCOME
                                               Debtors.
-------------------------------------------------------------------x

                                    AFFIRMATION OF DEBTORS’ INCOME

           STATE OF NEW YORK                  )
                                              ) s.s.:
           COUNTY OF KINGS                    )

               We, Becalel Edelstein, a/k/a Charles Edelstein, and Susan Edelstein, joint debtors herein (the

           “Debtors”), being duly affirmed, hereby declare that:

               1.       We are joint Debtors in this Chapter 13 bankruptcy case, and we are fully familiar

           with the facts hereinafter stated and make this affirmation is support of income we received in

           the last six months prior to the filing of the voluntary petition on November 20, 2009 (the

           “Petition Date”).

               2.       In the six months before the Petition Date, we received an average, combined

           monthly income of $6,866.09.

               3.       The income received is derived from employment and ownership of our company,

           Compacks, Inc. (the “Company”).

               4.       We have 100% ownership interest in the Company.

               5.       We do not draw a salary from the Company.

               6.       The Company pays for our living and ordinary and necessary expenses (the

           “Expenses”).

               7.       The above stated Expenses are paid through a checking account with HSBC.
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The payments for Expenses are debited directly from the HSBC Account. (Attached as Exhibit

A is the HSBC bank statement for the six (6) month period prior to the Petition Date, May 2009

through October 2009.)

   8.     The shortfall of the Expenses are paid by non-debtor family member and friends.

(Attached as Exhibit B are Affirmations of Non-Debtor Contributions.)




   Dated: January 18, 2010                 s/Becalel Edelstein____________________
                                           Becalel Edelstein, a/k/a Charles Edelstein


                                           s/Susan Edelstein____________________
                                           Susan Edelstein
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                                               EXHIBIT A

                     HSBC Bank Statements for the six (6) month period
                  prior to the Petition Date, May 2009 through October 2009

                                                               $65.00
 5/4/09      1555NY Hospital          Becalel Medical
                                                              $500.00
 5/6/09      1565Susan Edelstein      Susan Cash
                                                              $133.00
5/11/09 TT       Cablevision          Home Cable
                                                              $287.47
5/13/09 TT       Allstate             Car Insurance
                                                             $1,000.00
5/13/09 TT       Chase                Becalel Credit Card
                                                             $4,290.80
5/13/09 TT       Countrywide          Home Mortgage
                                                              $235.54
5/13/09 TT       T-Mobile             Becalel Cell Phone
                                                              $223.85
5/14/09 TT       Con Edison           Home Electric
                                                             $1,056.69
5/14/09 TT       Lexus Financial      Becalel Auto
                                                              $200.00
5/14/09 TT       Macy's               Susan Credit Card
                                                              $452.44
5/14/09 TT       Verizon wireless     Becalel Cell Phone
                                                              $174.47
5/15/09 TT       Verizon              Home Telephone
                                                               $89.84
5/18/09 TT       National Grid        Home Gas
                                                             $1,214.63
5/18/09 TT       National Grid        Home Gas
                                                              $200.00
5/19/09      1570Saks Fifth Ave       Susan Credit Card
                                                               $77.03
5/19/09      1571Verizon              Home Telephone
                                                             $1,181.14
5/20/09      1569Healthpass           Health Insurance
                                                               $75.04
5/27/09 TT       Vonage               Home Telephone
                                                              $263.42
5/28/09 TT       Cablevision          Home Cable
                                                              $171.74
5/29/09 TT       Verizon              Home Telephone
                                                             $1,151.00
 6/3/09      4587Bank of America      Becalel Credit Card
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                                                               $21.68
 6/5/09      1576Electroworld         Home Alarm
                                                              $304.82
 6/8/09 TT       Con Edison           Home Electric
                                                              $512.55
 6/8/09 TT       Lexus Financial      Becalel Auto
                                                              $200.00
 6/8/09 TT       Macy's               Susan Credit Card
                                                              $460.58
 6/8/09 TT       Verizon wireless     Becalel Cell Phone
                                                              $337.55
 6/9/09      1574Allstate             Car Insurance
                                                             $4,379.49
 6/9/09 TT       Countrywide          Home Mortgage
                                                              $200.00
 6/9/09      1572Lord & Taylor        Susan Credit Card
                                                               $81.36
 6/9/09      1577Saks Fifth Ave       Susan Credit Card
                                                              $650.25
6/10/09      1579Lexus Service        Becalel Auto
                                                               $14.38
6/10/09 TT       National Grid        Home Gas
                                                               $97.07
6/10/09 TT       National Grid        Home Gas
                                                              $480.00
6/10/09      1573NY Life              Life Insurance
                                                             $1,200.00
6/18/09      5003Bank of America      Becalel Credit Card
                                                             $1,493.61
6/24/09      1582Healthpass           Health Insurance
                                                             $4,379.49
7/13/09 TT       Countrywide          Home Mortgage
                                                               $30.35
7/15/09 TT       Vonage               Home Telephone
                                                              $337.53
7/17/09 TT       Allstate             Car Insurance
                                                              $472.93
7/17/09 TT       Verizon wireless     Becalel Cell Phone
                                                              $500.00
7/24/09 TT       Chase                Becalel Credit Card
                                                               $55.36
7/27/09 TT       Vonage               Home Telephone
                                                              $178.00
7/30/09      1484AAA                  Auto Expense
                                                              $273.72
7/30/09          Cablevision          Home Cable
 8/3/09 TT       Healthpass           Health Insurance       $1,493.61
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                                                                   $300.00
  8/6/09      1581Susan Edelstein    Susan Cash
                                                                    $50.00
 8/10/09      9999Asurian            Cell Phone Insurance
                                                                   $300.00
 8/17/09      1487B Edelstein        Becalel Cash
                                                                   $400.00
 8/20/09      1488B Edelstein        Becalel Cash
                                                                    $10.13
 8/24/09 TT       Vonage             Home Telephone
                                                                   $300.00
 8/27/09 Draft    B Edelstein        Becalel Cash
                                                                 $1,493.61
  9/2/09 TT       Healthpass         Health Insurance
                                                                   $200.00
  9/2/09      1489Susan Edelstein    Susan Cash
                                                                 $1,150.38
 9/16/09 TT       Con Edison         Home Electric
                                                                   $455.00
 9/16/09 TT       Verizon wireless   Becalel Cell Phone
                                                                    $35.12
 9/22/09 TT       Vonage             Home Telephone
                                                                   $724.26
 10/1/09          Verizon wireless   Becalel Cell Phone
                                                                 $2,987.22
 10/5/09          Healthpass         Health Insurance
                                                                   $500.00
 10/6/09          Chase              Becalel Credit Card
                                                                   $264.30
10/14/09          Cablevision        Home Cable
                                                                   $250.00
10/16/09      1496Susan Edelstein    Susan Cash
                                                                   $579.06
10/21/09      1583Stereo Leasing     Becalel Auto

                                                             $41,196.51/6




                                     Total Monthly Average      $6,866.08
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                          EXHIBIT B
          AFFIRMATIONS OF NON-DEBTOR CONTRIBUTIONS
                        (To Be Provided)
